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                          UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
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 9   DARRYL WAKEFIELD,                                CASE NO. 1:09-cv-00274-LJO-SMS PC
10                          Plaintiff,
                                                      ORDER REQUIRING PLAINTIFF TO FILE
11          v.                                        RESPONSE TO DEFENDANTS’ MOTION
                                                      FOR SUMMARY JUDGMENT
12   RICHARD INDERMILL,
                                                      (ECF Nos. 50, 51)
13                          Defendant.
                                                   / THIRTY-DAY DEADLINE
14
15          Plaintiff Darryl Wakefield (“Plaintiff”) is a state prisoner proceeding pro se and in forma
16   pauperis in this civil rights action pursuant to 42 U.S.C. § 1983 and 42 U.S.C. § 2000cc-1 (Religious
17   Land Use and Institutionalized Persons Act of 2000 (“RLUIPA”)). This action is proceeding on
18   Plaintiff’s amended complaint, filed August 11, 2009, against Defendant Wakefield for violations
19   of the First Amendment and RLUIPA.
20          On June 22, 2011, Defendant filed a motion for summary judgment. Plaintiff failed to file
21   an opposition or a statement of non-opposition to the motion. Local Rule 230(l).
22          Accordingly, it is HEREBY ORDERED that:
23          1.      Plaintiff shall file an opposition or a statement of non-opposition to Defendant’s
24                  motion for summary judgment within thirty (30) days from the date of service of
25                  this order; and
26   ///
27   ///
28   ///

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 1            2.      The failure to respond to Defendant’s motion in compliance with this order will
 2                    result in dismissal of this action, with prejudice, for failure to prosecute.
 3            IT IS SO ORDERED.
 4   Dated:        July 21, 2011                         /s/ Sandra M. Snyder
     cm411                                        UNITED STATES MAGISTRATE JUDGE
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